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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,                   Civil Action No. 18-CV-2921

                       Plaintiff,

                       v.

  UNITED STATES DEPARTMENT OF
COCOMMERCE, et al.,

                       Defendant.



  NEW YORK IMMIGRATION COALITION,              Civil Action No. 18-5025
  et al.,                                      (Consolidated Case)

                       Plaintiff,
                                              Hon. Jesse M. Furman
                       v.
                                              MEMORANDUM OF LAW IN SUPPORT
  UNITED STATES DEPARTMENT OF                 OF PLAINTIFFS’ MOTIONS IN LIMINE
CO COMMERCE, et al.,

                       Defendant.




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                                        INTRODUCTION

        Pursuant to this Court’s Individual Rules and Practices 5(B).i, Plaintiffs, the State of New

York and New York Immigration Coalition et al., submit these motions in limine to bar

defendants from introducing certain testimony or other evidence at trial. Plaintiffs seek to

exclude the following specific categories of testimony and other evidence: (1) post hoc

justifications for Secretary Ross’s March 26, 2018 memorandum; (2) testimony or argument

based on deliberative processes that were not disclosed in discovery by defendants; (3) testimony

or argument from Defendants that census response rates will not decline or that there will not be

an undercount; (4) testimony or argument that plaintiffs and their experts did not adequately

prove that a decline in response rates will occur or that there will be an undercount; and (5)

testimony from any non-disclosed fact witness.

                                          ARGUMENT

MIL 1:           THE COURT SHOULD PRECLUDE DEFENDANTS FROM OFFERING
                 POST-HOC JUSTIFICATIONS OF SECRETARY ROSS’S MARCH 26,
                 2018 MEMORANDUM

        Defendants should not be allowed to offer post-hoc rationalizations or support for

Secretary Ross’s March 26, 2018 memorandum. (March 26, 2018 Mem. of Secretary Wilbur

Ross, AR0001313). In response to the DOJ’s request that the Census Bureau add a citizen

question to the decennial census, Secretary Ross determined that adding the citizenship question

to the 2020 decennial census was “necessary to provide complete and accurate data” to aid DOJ

in enforcement of the Voting Rights Act. Id. at AR0001313, AR0001320. Secretary Ross

explained in the March 26 memo that he took a “hard look at the request” and “considered all

facts and data relevant” in order to make his decision. Id. Secretary Ross further explained the

four options he was considering, two of which included adding the citizenship question per


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DOJ’s request; and stated that he consulted with “Census Bureau leadership and interested

stakeholders” to conduct a “thorough review of the legal, program and policy considerations,”

that included an evaluation of the impact of adding a citizenship question. Id.

        Defendants have since sought to buttress Secretary Ross’s memorandum with additional,

after-the-fact rationalizations. For example, during their testimony, senior Commerce officials

testified about new rationales and justifications for asking the citizenship question, unrelated to

the Voting Rights Act (see Ex. A; Comstock Tr. 107-110, 261-262). These rationales and

evidence were not considered by Secretary Ross when he wrote the March 26 memorandum, and

should not be admitted for the purpose of supporting Secretary Ross’s March 26 memorandum.

        Deference traditionally afforded an agency is not appropriate when the agency’s position

“appears to be nothing more than an agency’s convenient litigating position.” Bowen v.

Georgetown Univ. Hosp., 488 U.S. 204, 213 (1988); U.S. Steel Mining Co., LLC v. Dir., OWCP,

386 F.3d 977, 986 (11th Cir. 2004) (“we do not afford deference to ad hoc positions of agencies

adopted in reaction to the exigencies of litigation; rather, deference is due when an agency has

taken a constant and unchanging—and reasonable—position . . . .”). Here, Secretary Ross, and

Defendants, have insisted that the Voting Rights Act rationale was the only basis for the decision

to add the citizenship question to the Decennial Census. They have insisted that the evidence

available and presented in the March 26 memo justified the addition of the question. Defendants

should therefore now be prohibited from offering any post hoc rationale or evidence justifying

the decision for the simple reason that it would not be the stated reason for Secretary Ross’s

decision. See William Bros. v. Pate, 833 F.2d 261, 265 (11th Cir. 1987) (Court was not “inclined

to defer to an inconsistent position” where a “Director has seen fit to adopt a contradictory

position on related issues when to do so furthers the chances of success in litigation); Bradberry



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v. Dir., Office of Workers' Comp. Programs, 117 F.3d 1361, 1366 (11th Cir. 1997)(“we need not

defer to a mere litigating position”).

MIL 2:           DEFENDANTS SHOULD BE PRECLUDED FROM USING
                 DELIBERATIVE PROCESS PRIVILEGE AS A SWORD AND A SHIELD

        Defendants have invoked deliberative process privilege as a shield to withhold discovery

about their intent in including the citizenship question in the census. Defendants should

therefore be precluded from introducing evidence or argument at trial as a sword to challenge

Plaintiffs’ evidence and arguments about Defendants’ discriminatory intent.

        It is well established that “a party cannot use materials as a ‘sword’ in its defense ‘while

using privileges attaching to [materials relied upon for that defense] as a “shield.”’ In re City of

New York, 607 F.3d 923, 946-47 (2d Cir. 2010) (quoting John Doe Co. v. United States, 350

F.3d 299, 302 (2d Cir. 2003)). In other words, “a party may not affirmatively rely on privileged

communications to support a claim or defense and then shield those communications from

discovery by its adversary.” U.S. v. Ghailani, 751 F. Supp. 2d 498, 501 (S.D.N.Y. 2010). This

doctrine applies in the context of various privileges. See, e.g., In re Sims, 534 F.3d 117, 132 (2d

Cir. 2008); Chevron Corp. v. Donziger, No. 11-Civ.-0691, 2013 WL 4045326, at *4 (S.D.N.Y.

Aug. 9, 2013); Favors v. Cuomo, 285 F.R.D. 187, 212 (E.D.N.Y. 2012); Ghailani, 751 F. Supp.

2d at 501. That includes deliberative process privilege. See, e.g., U.S. v. Wells Fargo Bank,

N.A., No. 12-CV-7527 (JMF), 2015 WL 6935917, at *2 (S.D.N.Y. Oct. 22, 2015); In re Methyl

Tertiary Butyl Ether (MTBE) Prods. Liability Litig., 898 F. Supp. 2d 603, 607 (S.D.N.Y. 2012).

        This is important because the Defendants have repeatedly insisted that their intent and

questions of pretext are irrelevant because they are entitled to a so-called “presumption of

regularity,” while continuing to shield hundreds of otherwise relevant Department of Commerce

and Justice documents on the basis of deliberative privilege. While Plaintiffs have been selective


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in challenging the invocation of this privilege, the Court has granted a number of Plaintiffs’

motions requiring disclosure. 1 And the compelled documents show anything but “regularity” –

including an email between Secretary Ross and a top aide about the need to censor the

Administrative Record in light of judicial review, AR 12476, and a second document disclosing

that “Justice Department staff did not want to raise the question. . . ” and Commerce appointees

would look into “how Commerce could add the question to the Census itself.” AR 12755.

         Defendants here have repeatedly invoked the deliberative process privilege as a basis to

withhold otherwise relevant documents or information. Notwithstanding successful motions to

compel, the Defendants have refused to independently evaluate those assertions and continue to

assert deliberative privilege over hundreds of Commerce and Justice Department documents.

        Parties may not assert a defense, including a purported lack of “intent,” that “in fairness

requires examination of protected communications.” U.S. v. Bilzerian, 926 F.2d 1285, 1292 (2d

Cir. 1991). In United States v. Bilzerian, a defendant charged with securities fraud sought to

testify at trial that he had acted in good faith, i.e., that his intent was to comply with the securities

laws, without disclosing the content or even the existence of any privileged communications and

without asserting a reliance on counsel defense. Id. at 1291. Because good faith necessarily

called into question the defendant’s communications with his attorney, the Second Circuit held

that such testimony implicitly waived the attorney-client privilege. See id. at 1291–94. As the


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  ECF No. 323, 369. For example, in response to plaintiffs’ September 20, 2018 motion to
compel challenging DOJ’s invocation of deliberative 2018, Plaintiffs sought disclosure of 27
Department of Justice (“DOJ”) documents Defendants withheld on the basis of deliberative
process privilege. ECF 343. Plaintiffs argued these documents would “likely shed light on
whether DOJ’s purported rationale for requesting the citizenship question was legitimate or
pretextual.” Id. at 3. Defendants agreed to disclose one document and determined the material
redacted from another was non-responsive. Docket No. 343 at 1. Defendants asserted
deliberative process privilege over the remaining 25 documents. See id. These documents
received in camera treatment after which the Court ruled 19 documents must be disclosed to
Plaintiffs. ECF No. 369 at 6.

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court explained, a party “may not use [a] privilege to prejudice his opponent’s case or to disclose

some selected communications for self-serving purposes.” Id. at 1292.

        The integrity of decision-making by the Commerce Department is central to this

litigation, and the withheld documents may shed light on that process. That is why Plaintiffs

sought their production. The sword/shield doctrine squarely prevents Defendants from offering

evidence or argument suggesting that the inclusion of the citizenship question is not pretextual,

while withholding discovery into whether Defendants in fact developed a pretext. Nor can

Defendants claim Plaintiffs’ evidence of discriminatory intent is lacking, while withholding

discovery into whether Defendants in fact acted with discriminatory intent. Defendants fought

for, and won, the opportunity to shield these deliberations from disclosure. They cannot now

turn around and weaponize these same withheld deliberations as evidence or argument at trial

that they acted without discriminatory intent. See Bilzerian, 926 F.2d at 1291-92; Burka v.

N.Y.C. Transit Auth., 110 F.R.D. 660, 667 (S.D.N.Y. 1986) (“Where the decision-making

process itself is the subject of the litigation, the deliverative [sic] privilege may not be raised as a

bar against disclosure of critical information.”). Nor can they strategically introduce portions of

these communications about the citizenship question when they withheld others. See Bilzerian,

926 F.2d at 1292.

        Any assertion by Defendants of a lack of intent to discriminate, absence of pretextual

justification, or presumptions of regularity puts their own deliberations in these documents at

issue. See In re Nielsen, No. 17-Civ.-3345, 2017 U.S. App. LEXIS 27681, at *11 n.2 (2d Cir.

Dec. 27, 2017); In re Subpoena Duces Tecum Served on Office of Comptroller of Currency, 145

F.3d 1422, 1424 (D.C. Cir. 1998); In re Methyl Tertiary Butyl Ether (MTBE) Prods. Liability

Litig., 898 F. Supp. 2d 603, 609-10 (S.D.N.Y. 2012). In the MTBE Product Liability Litigation,



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the New Jersey Department of Environmental Protection (“NJDEP”) claimed various

manufacturers of the gasoline additive MTBE had contaminated New Jersey’s groundwater. 898

F. Supp. 2d at 606. NJDEP raised, among other claims, a failure to warn claim that requires

establishing the product’s lack of “adequate warning or instruction” of its dangers and safe uses.

Id. at 608. This claim put at issue NJDEP’s internal decision-making process, and therefore, “the

deliberative process must give way.” Id. at 610. The same would be true of any lack of intent

defense Defendants raise based on the withheld information. Defendants cannot assert a lack of

intent defense or lack of pretext defense without also asserting the withheld documents do not

contain evidence of their discriminatory intent or pretextual justification. By raising this

defense, Defendants would put at issue their lack of intent by seeking to rebut Plaintiffs’ claims

with evidence to which Plaintiffs do not have access. See Ghailani, 751 F. Supp. 2d at 501.

They would be offering evidence or arguments that could only be proved or disproved with the

materials over which they have asserted privilege. In so doing, Defendants would prejudice

Plaintiffs. See Bilzerian, 926 F.2d at 1292. This is prohibited by the sword/shield doctrine.

        For the foregoing reasons, Defendants should be barred from offering evidence or

argument regarding lack of intent (including presumption of regularity), lack of pretext, or other

topics about which they withheld discovery on the grounds of deliberative process privileged.


MIL 3:           DEFENDANTS SHOULD BE PRECLUDED FROM ARGUING THAT
                 THERE IS NO EVIDENCE THAT CENSUS RESPONSE RATES WILL
                 DECLINE.

        Likewise, defendants should be precluded from using Section 9 of Title 13 (“Title 13”) as

a sword and a shield. In re City of New York, 607 F.3d at 946-47 (quoting John Doe Co. v.

United States, 350 F.3d 299, 302 (2d Cir. 2003)); Ghailani, 751 F. Supp. 2d at 501.




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        Throughout discovery, Plaintiffs have sought data, including Numident citizenship data

and data from the American Community Survey (“ACS”), an annual survey conducted by the

Census Bureau that includes a question concerning citizenship status, in order better quantify the

impact of the citizenship question on the Census. But Defendants claim this data constitutes

“proprietary information[.]” Citing Title 13, Defendants repeatedly refused to release this data.

By withholding this data, inter alia, Defendants have prevented Plaintiffs from obtaining,

through the normal course of discovery, evidence that would have allowed Plaintiffs’ experts to

buttress their testimony regarding the expected decline in participation in the 2020 Census

should the citizenship question be added, and the resultant undercount.

        Because Defendants have withheld data relevant to the question of decline in response

rates and undercounts for certain communities, Plaintiffs now move to prevent Defendants from

offering any argument, testimony or other evidence at trial that (a) there is no evidence that

adding the citizenship question to the 2020 Census would lead to a decrease in the response rate

for certain communities, (b) there is no evidence that adding the citizenship question to the 2020

Census would lead to an undercount for certain communities, or that (c) Plaintiffs’ experts have

failed to quantify sufficiently the decline in those response rates or undercounts. While

Defendants had a right to raise their objections, they cannot both deprive Plaintiffs of data that

would assist their analysis by asserting Title 13 and then argue that Plaintiffs’ proof regarding

these topics is insufficient.

        There is no question that the withheld data would allow Plaintiffs to further support their

analyses. Plaintiffs’ experts have already produced substantial evidence that the addition of the

citizenship question will reduce response rates of noncitizen, immigrant, and Hispanics,

particularly in light of the current political climate. They have supplemented their analysis as



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more data becomes available. For example, the 2017 PUMS ACS data was publicly released on

October 18, 2018, and Plaintiffs have now been able to analyze some of that data. In fact,

Plaintiffs’ expert quickly analyzed the data about non-response and demonstrated that, since

2016, trends indicative of a decline in self-response have significantly increased. Plaintiffs

presented this analysis in an October 23 supplemental disclosure. However, none of the public

ACS data contains information like Numident citizenship data, so this recent analysis cannot be

as robust as the analysis done by the Census Bureau. See Ex. B, ACS Breakoff Analysis,

AR0010382. As Plaintiffs’ experts have made clear, access to the information that Defendants

have withheld would have allowed Plaintiffs to further bolster their analysis. Id. For example,

when asked at her deposition whether she had “attempted to quantify the potential impact of a

citizenship question on the self-response rate of Hispanic citizens,” Dr. Hillygus testified that

“[t]he Census Bureau has not produced the data that would make that possible.” (Ex. C,

Deposition of Dionne Sunshine Hillygus at 25:21-25). By withholding this data, Defendants

have deprived Plaintiffs of the means by which their experts could bolster their analysis.

        Plaintiffs expect that Defendants will try to contend at trial, as they have in the past, that

the expected decrease in response rates of minorities and hard-to-count populations is

“speculative” by arguing that Plaintiffs and Plaintiffs’ experts lack empirical data to show the

decline. Further, Plaintiffs expect that Defendants will argue, as their expert Dr. John Abowd

has, that:

                 no expert has produced credible quantitative evidence that the
                 addition of a citizenship question to the 2020 Census would
                 increase the net undercount or increase differential net undercounts
                 for identifiable sub-populations. Therefore, there is no credible
                 quantitative evidence that the addition of the citizenship question
                 would affect the accuracy of the count. (Defendants’ Disclosures
                 Pursuant to Rule 26(A)(2)(C) at 3.)



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Dr. Abowd repeatedly criticized Plaintiffs’ experts for failing to adequately quantify the

undercount that would result from adding the citizenship question to the Census. See also ECF

No. 387-5 (Abowd 10/12 Tr. at 72:17-73:3 (stating that Dr. Matthew Barreto lacked “credible

evidence that the citizenship question will have a bearing on the net undercount”); id. at 216:3-12

(claiming that Plaintiffs’ experts “should have been able to” provide a quantification of the

difference caused by adding the citizenship question).

        At the same time, Defendants have failed to conduct the analysis themselves, all while

invoking Title 13 to deprive Plaintiffs of the data to independently conduct such analysis.

Indeed, Dr. Abowd conceded that the Census Bureau could have used this information to study

this question and that Dr. Abowd, himself had proposed studying this question to Census

Bureau leadership – but did not do so. Id. at 288-289. As a result, Defendants complain about

insufficiency of proof as to the decline in self-response or undercount when they had exclusive

possession of the data necessary to measure and refused Plaintiffs the opportunity to do so.

        For these reasons, Defendants should not be allowed to argue that Plaintiffs have failed to

present such evidence. Having refused to give Plaintiffs that information, Defendants should not

be able to argue at trial (or put on testimony) about the adequacy of Plaintiffs proof or any

purported failure by Plaintiffs to prove undercount that would result if the citizenship question

were included. United States v. Bilzerian, 928 F.2d 1285, 1292 (2d Cir. 1991) (a party “may not

use . . . privilege to prejudice his opponent’s case).

MIL 4:           DEFENDANTS SHOULD BE PRECLUDED FROM PROFERRING
                 TESTIMONY FROM ANY FACT WITNESSES AT TRIAL.

        Defendants failed to identify any fact witnesses in their initial disclosures, but have

reserved their right to call anyone who is on Plaintiffs’ initial disclosure list, or who has appeared

in a deposition. The Court should not permit testimony by additional witnesses to be put forth at


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trial. Rule 26(a)(3) requires parties, in an initial disclosure, to “provide to the other

parties . . . information about the evidence that it may present at trial other than solely for

impeachment,” including “the name . . . of each witness.” Fed R. Civ. P. 26(a)(3)(A). Federal

Rule of Civil Procedure 37(c)(1), in turn, provides that if a party fails to disclose information

required by Rule 26(a) or (e), “the party is not allowed to use that information” at trial “unless

the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).

        Defendants’ initial disclosure of July 23, 2018 (attached as Ex. D) stated that “there are

no fact witnesses Defendants intend to use to support their claims or defenses, other than for

impeachment,” and Defendants have never supplemented this disclosure. (Ex. D, Defs.’ Initial

Disclosure at 2). Defendants have made no indication that they intend to call further witnesses _

instead reiterating that the agency action should be reviewed only “on the basis of the

administrative record produced by the agency,” and the Court should not permit Defendants to

change course now. At this stage of the proceedings, Defendants can make no reasonable

argument that the failure to disclose any fact witnesses was substantially justified; and on the

other side of the ledger, Plaintiffs would be significantly prejudiced by such a late addition of a

witness. Accordingly, the Court should not allow Defendants to present any factual witnesses at

trial. E.g., Innis Arden Golf Club v. Pitney Bowes, Inc., No. 3:06-cv-1352 (JBA), 2009 WL

5873112, *3 (D. Conn. 2009) (“Rule 37(c)(1)’s preclusionary sanction is automatic absent a

determination of either substantial justification or harmlessness.”) (citation omitted).




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                                          CONCLUSION

        For the foregoing reasons, plaintiffs request that the Court grant the relief requested in

motions in limine 1 through 4.


                                       Respectfully submitted,

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